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                                           8                               UNITED STATES DISTRICT COURT
                                           9                              CENTRAL DISTRICT OF CALIFORNIA
                                           10   Guillermo Cabrera; La Morena Music        Case No. 5:25-cv-109
                                                Entertainment, LLC; Jorge Ernesto         COMPLAINT FOR:
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                                           11   Ramirez Ceballos; Fernando Guardado
                                                Rosales; Jose Rosario Cisneros            (1) DIRECT AND DERIVATIVE FEDERAL
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                                           12   Gutierrez; and Luis Antonio Plasencia     TRADEMARK COUNTERFEITING
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                                                Martinez,                                 (LANHAM ACT, 15 U.S.C. § 1114);
                                           13                                             (2) DIRECT AND DERIVATIVE FEDERAL
                                                                 Plaintiffs,              TRADEMARK INFRINGEMENT
                                           14                                             (LANHAM ACT, 15 U.S.C. § 1114);
                                                        v.
                                           15                                             (3) DIRECT AND DERIVATIVE FALSE
                                                Manuel Palomino; FM Entertainment         DESIGNATION OF ORIGIN (LANHAM
                                           16   Artist Management and Booking Inc.;       ACT, 15 U.S.C. § 1125(a));
                                                and DOES 1 through 10, inclusive,         (4) INTENTIONAL INTERFERENCE
                                           17                                             WITH CONTRACT
                                                                 Defendants.
                                           18                                             (5) INTENTIONAL INTERFERENCE
                                                                                          WITH PROSPECTIVE ECONOMIC
                                           19                                             ADVANTAGE;
                                           20                                             (6) INTENTIONAL INFLICTION OF
                                                                                          EMOTIONAL DISTRESS;
                                           21                                             (7) UNFAIR COMPETITION (CAL. BUS.
                                                                                          & PROF. CODE § 17200);
                                           22
                                                                                          (8) COMMON LAW UNFAIR
                                           23                                             COMPETITION;
                                                                                          (9) MISAPPROPRIATION OF IMAGE
                                           24                                             AND LIKENESS AND VIOLATION OF
                                                                                          RIGHT OF PUBLICITY (CAL. CIVIL CODE
                                           25                                             § 3344]; AND
                                           26                                             (10) COMMON LAW
                                                                                          MISAPPROPRIATION OF IMAGE AND
                                           27                                             LIKENESS AND VIOLATION OF RIGHT
                                                                                          OF PUBLICITY
                                           28                                             DEMAND FOR JURY TRIAL
                                                                                                                        COMPLAINT

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                                           1            Plaintiffs Jorge Ernesto Ramirez Ceballos (“Plaintiff Ernesto Ramirez”),
                                           2    Fernando Guardado Rosales (“Plaintiff Fernando Guardado”), Jose Rosario
                                           3    Cisneros Gutierrez (“Plaintiff Jose Cisneros”), Luis Antonio Plasencia Martinez
                                           4    (“Plaintiff Luis Plasencia”)1, Guillermo Cabrera (“Plaintiff Guillermo Cabrera”) and
                                           5    La Morena Music Entertainment, LLC (“La Morena”) hereby allege and aver based
                                           6    on knowledge as to their acts and based on information and belief as to the acts of
                                           7    others, as follows:
                                           8                                       NATURE OF ACTION
                                           9            1.    This is an action for intentional interference with existing and
                                           10   prospective economic relations, direct and derivative, trademark infringement and
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                                           11   unfair competition and intentional infliction of emotional distress.
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                                           12           2.    Plaintiffs bring this action against Defendant Miguel Palomino
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                                           13   (“Defendant Palomino”) to stop his illegal campaign to defame and intimidate
                                           14   Plaintiffs, including through attempted bribery and threats of violence, and threats
                                           15   of engineering their deportation and interfering with their ability to obtain visas
                                           16   for musical performances in the United States. Plaintiffs also seek redress for
                                           17   Defendant Palomino’s repeated interference with Plaintiffs’ contractual and
                                           18   prospective economic relations with venues and ticketing agencies throughout the
                                           19   United States, including his false claim that Plaintiffs do not have trademark rights
                                           20   to tour in the United States.
                                           21           3.    Further, Defendants Palomino and Defendant FM Entertainment
                                           22   Artist Management and Booking Inc. (“Defendant FM”) are unlawfully using and
                                           23   profiting from Plaintiffs’ Banda Maguey trademarks and are liable for direct and
                                           24   derivative trademark infringement.
                                           25           4.    Plaintiffs Banda Maguey Founding Members are exclusive licensees of
                                           26   the famous Banda Maguey trademark in the United States and are doing business
                                           27   1
                                                 Messrs. Guardado, Cisneros and Plasencia are collectively referred to as “Plaintiffs
                                                Banda Maguey Founding Members” or “Banda Maguey” (and jointly with Plaintiffs
                                           28   Ernesto Ramirez and Guillermo Cabrera, “Plaintiffs”).
                                                                                          -2-                                  COMPLAINT

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                                           1    as Banda Maguey both in the United States and Mexico. Plaintiff Guillermo
                                           2    Cabrera is Banda Maguey’s booking agent in the United States and is the owner of
                                           3    Plaintiff La Morena. Plaintiff Ernesto Ramirez owns the Banda Maguey trademarks
                                           4    in the United States and Mexico.
                                           5            5.   Defendant Palomino, including through his company FM
                                           6    Entertainment, is in the business of booking concerts for musical bands in the
                                           7    United States. Defendant Palomino boasts to having extensive contacts and
                                           8    influence in the Latino musical industry in the United States, including with a
                                           9    widespread network of venues and with at least one prominent ticketing agency,
                                           10   and claims to be associated with one or more associates that he can call upon to
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                                           11   carry out violence against Plaintiffs.
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                                           12           6.   Defendants’ misconduct has greatly harmed Plaintiffs, forcing them to
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                                           13   bring this action to enforce their rights.
                                           14         BACKGROUND ON BANDA MAGUEY AND THE IMPOSTOR NON-PARTIES
                                           15           7.   Banda Maguey is a famous musical group from Villa Corona, Jalisco
                                           16   Mexico (“Banda Maguey”) and a preeminent music band in the technobanda
                                           17   music genre. Banda Maguey is managed by non-party Mr. Mario Cesar Guardado
                                           18   and Plaintiff Ernesto Ramirez and comprises, inter alia, Plaintiff Banda Founding
                                           19   Members.
                                           20           8.   Banda Maguey has provided entertainment services in connection
                                           21   with the name and mark Banda Maguey for several decades, dating back to at
                                           22   least 1991, including throughout the United States.
                                           23           9.   Plaintiff Ramirez Ceballos is the owner of the Banda Maguey
                                           24   trademarks and the copyright over the Banda Maguey logo artwork (“Banda
                                           25   Maguey Design”). Plaintiffs Banda Maguey Founding Members are exclusive
                                           26   licensees of the Banda Maguey trademarks and copyright and have sole and
                                           27   exclusive ownership and interest in their individual names, images and likenesses.
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                                           1            10.   Defendant Palomino purports to represent an impostor band made
                                           2    up of former band members Miguel Angel Vidal Pulido (“Impostor Non-Party MA
                                           3    Pulido”) and Samuel Vidal Pulido (“Impostor Non-Party S Pulido”), who are also
                                           4    using the Banda Maguey trademarks illegally and without authorization, including
                                           5    through Defendant Banda Maguey Corporation, dba Banda Maguey USA, Inc.
                                           6    (“Impostor Band”) (collectively, “Impostor Non-Parties”).
                                           7            11.   Plaintiffs Banda Maguey Founding Members have brought pending
                                           8    litigation against the Impostor Non-Parties for, inter alia, trademark infringement
                                           9    and misappropriation of likeness. Impostor MA Pulido is currently the subject of
                                           10   an injunction prohibiting him from using the Banda Maguey trademarks in
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                                           11   Mexico.2
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                                           12           12.   Defendants Palomino and FM have greatly profited from their
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                                           13   representation of the Impostor Non-Parties, securing for Defendant Palomino fees
                                           14   in the amount of 50% of total bookings.
                                           15                                           THE PARTIES
                                           16           13.   Plaintiff Ernesto Ceballos is a citizen and resident of Mexico.
                                           17           14.   Plaintiff Fernando Guardado is a citizen and resident of Mexico.
                                           18           15.   Plaintiff Jose Cisneros is a citizen and resident of Mexico.
                                           19           16.   Plaintiff Luis Plasencia Martinez is a citizen and resident of Mexico.
                                           20           17.   Plaintiff Guillermo Cabrera is a resident of the state of Arizona.
                                           21           18.   Plaintiff La Morena Music Entertainment, LLC (“La Morena”) is an
                                           22   Arizona Limited Liability Company with a principal place of business Surprise,
                                           23   Arizona owned by Plaintiff Guillermo Cabrera.
                                           24   ///
                                           25   ///
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                                                 Impostor Non-Party MA Pulido has lost every proceeding challenging Plaintiff Ernesto Ceballos’
                                           28   ownership of the Banda Maguey trademarks in Mexico.

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                                           1            19.   Defendant Palomino is a California resident, residing at 4657
                                           2    Rockingham Loop, Riverside, California 92509.
                                           3            20.   Defendant FM Entertainment Artist Management and Booking Inc. is
                                           4    a California corporation with a principal place of business at 4657 Rockingham
                                           5    Loop, Riverside, California 92509.
                                           6            21.   Plaintiffs are unaware of the true names and capacities, whether
                                           7    individual, corporate, associate, or otherwise, of Defendants DOES 1 through 10
                                           8    and therefore sues them by such fictitious names. Each DOE Defendant is
                                           9    responsible for the claims and damages alleged herein and is jointly and severally
                                           10   liable with all other Defendants. Plaintiffs will seek leave of Court to amend this
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                                           11   Complaint when they ascertain the identities of these Defendants.
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                                           12           22.   At all relevant times, Defendant Palomino knowingly and intentionally
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                                           13   authorized and participated in the wrongful conduct alleged here, including in the
                                           14   Impostor Non-Parties’ misconduct. Among other things, he directed, authorized,
                                           15   or participated in attempting to bribe Plaintiff Guillermo Cabrera and in
                                           16   threatening violence and deportation against Plaintiffs Banda Maguey Founding
                                           17   Members. Further, he personally interfered with Plaintiffs’ contractual and
                                           18   economic relationships with third parties and with each other, and he participated
                                           19   in infringement and unfair competition. As such, he is personally liable in this
                                           20   action.
                                           21           23.   At all relevant times, and as more fully described below, Defendant
                                           22   Palomino was and is the President and control person of Defendant FM.
                                           23   Notwithstanding his role as a corporate officer, Defendant Palomino acted in his
                                           24   own interest for his own improper purpose by personally infringing Plaintiffs’
                                           25   rights. Further, Defendant Palomino, directed, was aware of, participated in and
                                           26   facilitated the referenced infringing activity and conspiracy. He further failed to
                                           27   take any steps to prevent the Impostor Defendants’ unlawful use of the Banda
                                           28   Maguey intellectual property. Moreover, Defendant Palomino directed,
                                                                                        -5-                                 COMPLAINT

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                                           1    participated in and ratified this wrongful conduct after receiving notice of
                                           2    Plaintiffs’ claims.
                                           3            24.   At all relevant times, the Impostor Non-Parties were aware of and
                                           4    cooperated with, authorized and ratified Defendants’ misconduct and conspiracy
                                           5    alleged herein, and are therefore also liable.
                                           6            25.   At all relevant times, Defendants acted through their agents,
                                           7    members and/or managing members. At all relevant times each of the
                                           8    Defendants was the agent, ostensible agent, employee, alter ego, and/or co-
                                           9    conspirator of each of the remaining Defendants and at all times was acting within
                                           10   the purpose and scope of such agency, employment, and conspiracy and with the
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                                           11   knowledge, authorization, permission, consent and/or subsequent ratification and
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                                           12   approval of each Co-defendant.
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                                           13                                 JURISDICTION AND VENUE
                                           14           26.   This Court has original jurisdiction over the subject matter of this
                                           15   action pursuant to 28 U.S.C. §§ 1331, 1338(a), and 15 U.S.C. § 1121. The Court has
                                           16   supplemental jurisdiction over the state law claims asserted herein under 28
                                           17   U.S.C. § 1338(b) because they form some part of the same case or controversy
                                           18   under Article III of the United States Constitution.
                                           19           27.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
                                           20   because it is a judicial district in which a substantial part of the events giving rise
                                           21   to the claims asserted herein occurred, because Defendants have or are
                                           22   advertising and using the infringing marks in this judicial district, including through
                                           23   several concerts in Los Angeles County, and because Defendants are residents of
                                           24   this judicial district under Section 1391.
                                           25           28.   This Court has personal jurisdiction over all Defendants because they
                                           26   reside in the state of California and have engaged in the wrongful conduct
                                           27   outlined herein in California.
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                                           1                                  FACTUAL BACKGROUND
                                           2            A.    Background on Banda Maguey
                                           3            29.   Banda Maguey was formed in 1992 in Villa Corona, Jalisco, Mexico,
                                           4    and quickly rose to fame as the preeminent technobanda genre musical band.
                                           5    Banda Maguey signed with Fonovisa shortly thereafter and released its first record
                                           6    Tumbando Caña in January 1994. Banda Maguey debuted in the United States in a
                                           7    sold-out area in Los Angeles on May 5, 1994. Over the next decades, Banda
                                           8    Maguey recorded and released 20 albums, all of which garnered international
                                           9    fame.
                                           10           30.   Banda Maguey has continuously toured in Mexico and the United
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                                           11   States since 1992. Its international fame continues through today, including a
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                                           12   massive social media following on Facebook and Instagram.
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                                           13           31.   Plaintiff Ramirez Ceballos, including through his predecessors-in-
                                           14   interest and exclusive licensees Plaintiffs Banda Maguey Founding Members,
                                           15   adopted the “Banda Maguey” mark (“Banda Maguey Mark”) in 1992 and the “La
                                           16   Original Banda Maguey, Y Sigue Y Sigue Y Puro Villa…Corona” mark in 2019
                                           17   (collectively, the “Banda Maguey Marks”). Plaintiffs have continuously promoted
                                           18   and used the Banda Maguey Marks throughout the United States in interstate
                                           19   commerce and have expended considerable sums in exerting every effort to
                                           20   maintain and develop the Banda Maguey Marks.
                                           21           32.   Banda Maguey’s ongoing investment and effort to develop its
                                           22   intellectual property in the Banda Maguey Marks since at least 1992 has resulted
                                           23   in widespread fame and recognition. Banda Maguey’s social media and internet
                                           24   sites featuring the Banda Maguey Marks are widely known and followed in the
                                           25   United States.
                                           26           B.    The ʼ067 Banda Maguey Registration
                                           27           33.   Plaintiff Ernesto Ramirez owns, and Plaintiffs Banda Maguey Founding
                                           28   Members are exclusively licensees, of U.S. Registration Number 2,198,067 (the
                                                                                        -7-                                COMPLAINT

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                                           1    “’067 Banda Maguey Registration”) through a series of assignments duly recorded
                                           2    with the USPTO.
                                           3            34.   Impostor Non-Parties MA Pulido and S Pulido filed a cancellation
                                           4    petition of the ʼ067 Registration based on alleged fraud. Plaintiff Ernesto Ramirez
                                           5    was not notified of the petition and thus did not timely respond. As such,
                                           6    Imposter Non-Parties MA Pulido and S Pulido obtained a default order cancelling
                                           7    the ’067 Banda Maguey Registration. Notably, Impostor Non-Party MA Pulido has
                                           8    lost actions to cancel the Banda Maguey registrations in Mexico, as those were
                                           9    actions were litigated on the merits.
                                           10           35.   While the cancellation of the ʼ067 Registration denies Plaintiffs
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                                           11   certain statutory rights, Plaintiffs have retained all common law rights to the
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                                           12   Banda Maguey Mark associated with the Banda Maguey goodwill through the
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                                           13   assignments described above.
                                           14           C.    The ʼ963 Registration for the “La Original Banda Maguey, Y Sigue Y
                                           15                 Sigue Y… Puro Villa Corona” and Design
                                           16           36.   Plaintiff Ramirez Ceballos also owns U.S. Registration 5,985,963 (the
                                           17   “ʼ963 Registration”) over the mark “La Original Banda Maguey, Y Sigue Y Sigue Y…
                                           18   Puro Villa Corona” and design (“La Original Banda Maguey Mark”). Plaintiff
                                           19   Ramirez Ceballos registered the La Original Banda Maguey Mark in IC 41 for
                                           20   entertainment services in the nature of presenting live musical performances with
                                           21   a date of first use of at least February 27, 2019, as follows:
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                                           1            D.    The Banda Maguey Copyrighted Design
                                           2            37.   Plaintiff Ramirez Ceballos also owns the copyright over the Banda
                                           3    Maguey Design, including as shown below, as well as any modifications thereof.
                                           4    This original work of authorship consists of a graphic design of the wording Banda
                                           5    Maguey in stylized letters, where the letter M is depicted as an animated
                                           6    character wearing a Mexican sombrero and a colorful sash, holding a trumpet, as
                                           7    follows:
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                                           14           E.    The Impostor Non-Parties’ Direct Trademark Counterfeiting and
                                           15                 Infringement
                                           16           38.   The Impostor Non-Parties’ infringing use of the Banda Maguey
                                           17   Corporation name, the Banda Maguey USA, Inc. dba, and their use in advertising,
                                           18   social media and musical performances of the Banda Maguey and La Original
                                           19   Banda Maguey Marks are unlawful.
                                           20           39.   By way of example, the legitimate Banda Maguey Facebook page
                                           21   went live in at least 2010 and has over 909,000 followers3.
                                           22           40.   On or about July 7, 2021, the Impostor Non-Parties created a
                                           23   fraudulent Facebook page claiming that it is “La Original Banda Maguey” (the
                                           24   Original Banda Maguey). The following comparison illustrates the Impostor Non-
                                           25   Parties’ brazen infringement.
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                                                  By way of comparison, Defendants’ fraudulent Facebook account has created confusion
                                           28   to the tune of 35,000 followers.
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                                           1                            Legitimate Facebook Banner:
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                                           14                            Infringing Facebook Banner:
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                                           1            41.   The Impostor Non-Parties have also copied the legitimate Banda
                                           2    Maguey Instagram page, which went live in April 2016 at @bandamagueyoficial
                                           3    and currently has over 627,000 followers, by creating a fraudulent Instagram
                                           4    account at @laoriginal_bandamaguey_oficial, again claiming to be La Original
                                           5    Banda Maguey, as shown below.
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                                           7         Legitimate Trademark Images                 Infringing Trademark Images
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                                                     Legitimate Trademark Images                 Infringing Trademark Images
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                                           26           42.   Beginning in June, 2021, the Impostor Non-Parties engaged in

                                           27   counterfeiting, infringement and false designation of origin in connection with live

                                           28   musical performances, as shown below:

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                                           2          Legitimate Trademark Images              Infringing Trademark Images
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                                                      Legitimate Trademark Images                Infringing Trademark Images
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                                           15           43.   The Impostor Non-Parties’ brazen and widespread trademark
                                           16   infringement also includes their copying the Banda Maguey Marks from other
                                           17   legitimate Banda Maguey social media platforms that have tremendous
                                           18   popularity.
                                           19           44.   For example, the legitimate Banda Maguey YouTube account was
                                           20   created on June 5, 2012 and has over 376,181,419 views and 413,000 subscribers.
                                           21   Its TikTok account has 1.1M followers and over 26.4M likes. And its Spotify
                                           22   Account has 1,244,877 followers and 2,918,558 monthly listeners.
                                           23           45.   The Impostor Non-Parties’ infringing YouTube, TikTok and Spotify
                                           24   accounts have secured a very limited following that is likely to cause and has
                                           25   caused confusion.
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                                           1            F.    Defendants’ and Impostor Non-Parties’ Misappropriation of
                                           2                  Plaintiffs Banda Maguey Founding Members’ Image and Likeness
                                           3                  and Violation of Their Right of Publicity
                                           4            46.   Beginning in 2023, Defendant Palomino misappropriated the image
                                           5    and likeness of Plaintiffs Banda Maguey Founding Members.
                                           6            47.   In particular, Defendant Palomino and Impostor Non-Parties have
                                           7    taken, directly and/or through their agents, recent concert video, images,
                                           8    photographs and advertising featuring Plaintiffs Banda Maguey Founding
                                           9    Members and used them without authorization to falsely promote their own
                                           10   concerts in the United States and mislead the public into believing they were
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                                           11   attending legitimate Banda Maguey concerts.
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                                           12           48.   Defendant Palomino’s misappropriation includes numerous
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                                           13   unauthorized publications of recent videos, photographs and images featuring
                                           14   Plaintiffs Banda Maguey Founding Members in connection with extensive recent
                                           15   publicity, marketing, advertising and concerts.
                                           16           49.   As recently as January 10, 2025, Defendant Palomino caused an image
                                           17   of Plaintiff Founding Members to be sent to 801 Event Center in Salt Lake City,
                                           18   Utah for publication on social media to falsely promote a musical concert
                                           19   scheduled by the Imposter Non-Parties for February 8, 2025, as follows:
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                                           28   See also, Exhibit A.

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                                           1            G.    Defendants Palomino and FM’s Direct and Derivative Trademark
                                           2                  Counterfeiting and Infringement
                                           3            50.   Defendants Palomino and FM are and have been the Impostor Non-
                                           4    Parties’ exclusive agents in the United States.
                                           5            51.   Further, Defendant Palomino and Impostor Non-Party MA Pulido
                                           6    have been close associates for many years, including sharing the same address at
                                           7    4657 Rockingham Loop, Riverside, California 92509.
                                           8            52.   Defendants Palomino and FM typically negotiate with venues for the
                                           9    booking of concerts, and they also enter into musical event contracts with those
                                           10   venues, including on their own behalf for the benefit of the Impostor Non-Parties.
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                                           11   This arrangement is very lucrative for Defendants Palomino and FM, including
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                                           12   obtaining up to 50% of fees generated through concerts. As such, Defendants
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                                           13   Palomino and FM are highly incentivized to represent the Impostor Non-Parties
                                           14   throughout the United States.
                                           15           53.   Defendants Palomino and FM promote the Impostor Non-Parties
                                           16   exclusively using the Banda Maguey Marks. They do so in connection with
                                           17   contracts as well as through extensive publicity, including on their website, as
                                           18   follows:
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                                           28   See also, Exhibit B.

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                                           1            54.   Thus, Defendants FM and Palomino refer to the Impostor Non-Parties
                                           2    as “La Familia” (“The Family”), and they have a dedicated webpage exclusively for
                                           3    the Impostor Non-Parties and their infringing Banda Maguey Mark, as well as
                                           4    prominently featuring them on the FM landing page as one of their top nine
                                           5    clients.
                                           6            55.   As of the date of this filing, Defendants’ online advertising of the
                                           7    Impostor Non-Parties and their infringing Banda Maguey Marks also includes
                                           8    prominently promoting concerts in various venues on January 18 and 31 and
                                           9    February 8, 15 and 16, April 5 and May 3, including in California.
                                           10           56.   Further, Defendants FM and Palomino routinely create and generate
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                                           11   concert ads and posters using infringing Banda Maguey Marks for purposes of
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                                           12   promoting the Impostor Non-Parties in the United States.
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                                           13           57.   As such, Defendants Palomino and FM are liable for direct and
                                           14   derivative trademark infringement and counterfeiting, as further alleged herein.
                                           15           H.    Defendants Palomino and FM’s Intentional Interference
                                           16           58.   In order to expand their lucrative agreement with the Impostor Non-
                                           17   Parties, Defendants have undertaken a scheme to interfere with Plaintiffs’ right
                                           18   and ability to perform in concerts throughout the United States.
                                           19           59.   Specifically, Defendant Palomino, on his own behalf and on behalf of
                                           20   Defendant FM, has repeatedly contacted venues across the United States and
                                           21   misrepresented that Plaintiffs do not have a right to perform in the United States
                                           22   in order to persuade those venues to cancel contracts with Plaintiffs for the
                                           23   performance of concerts.
                                           24           60.   But Defendant Palomino didn’t stop there. Rather, he set out to
                                           25   further sabotage Plaintiffs’ musical concerts and tours by wrongfully interfering
                                           26   with their ability to sell concert tickets to their extensive fan base.
                                           27           61.   Defendant Palomino directly and indirectly contacted Ticketón
                                           28   Entertainment L.P., a preeminent ticketing agency catering to Latin and Hispanic
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                                           1    music fans, musical bands and performers, and falsely stated that Plaintiffs do not
                                           2    have the right to perform musical events and/or tour in the United States.
                                           3            62.   Defendant Palomino did so because he knows that a large percentage
                                           4    of all concert tickets for Plaintiffs’ concerts are purchased through Ticketón, and
                                           5    because he intended to cause Ticketón to cease selling tickets to Plaintiffs’
                                           6    extensive fan base in order to cripple Plaintiffs’ concert tours in the United States.
                                           7            63.   As a result of Defendants’ misconduct, venues have cancelled
                                           8    Plaintiffs’ concerts and Ticketón has at different times ceased selling tickets to
                                           9    Plaintiffs’ concerts.
                                           10           I.    Defendant Palomino’s Threats Against Plaintiff Guillermo Cabrera
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                                           11                 and Banda Maguey Founding Members
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                                           12           64.   Unsatisfied with his malicious interference, Defendants Palomino also
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                                           13   set out to intimidate Plaintiffs and bribe Plaintiff Cabrera.
                                           14           65.   In October 2024, Defendant Palomino contacted Plaintiff Guillermo
                                           15   Cabrera and demanded a face-to-face meeting in Mr. Cabrera’s home in Arizona,
                                           16   even though Defendant Palomino resides in Riverside County.
                                           17           66.   Defendant Palomino’s insistence on a face-to-face meeting surprised
                                           18   and alarmed Plaintiff Cabrera, who did not have a prior relationship with
                                           19   Defendant Palomino.
                                           20           67.   When Plaintiff Cabrera declined a face-to-face meeting, Defendant
                                           21   Palomino insisted that Plaintiff Cabrera make himself available for a phone call.
                                           22           68.   During that call, Defendant Palomino tried to bribe Plaintiff Cabrera
                                           23   to stop representing Plaintiffs Banda Maguey Founding Members.
                                           24           69.   Defendant Palomino also threatened Plaintiffs with physical harm,
                                           25   claiming that he was very well connected and that with one phone call he could
                                           26   cause Plaintiffs physical harm and have them removed from the United States.
                                           27           70.   Defendant Palomino previously made similar threats to Banda
                                           28   Maguey’s manager and non-party Mario Guardado.
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                                           1            71.   Defendant Palomino’s threats have greatly alarmed Plaintiffs, causing
                                           2    them to fear for their safety.
                                           3                                     FIRST CLAIM FOR RELIEF
                                           4                  Direct and Derivative Federal Trademark Counterfeiting
                                           5                      in Violation of Lanham Act § 32, 15 U.S.C. § 1114
                                           6            72.   Plaintiffs reallege and incorporate by reference each of the foregoing
                                           7    paragraphs of this Complaint as though fully set forth in full herein.
                                           8            73.   Defendants’ and Impostor Non-Parties’ use of the La Original Banda
                                           9    Maguey Mark is identical with, or substantially indistinguishable from the La
                                           10   Original Banda Maguey Mark over which Plaintiff Ramirez Ceballos holds the ʼ963
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                                           11   Registration. Defendants have used these spurious designs in commerce in
             A TTORNEYS A T L AW




                                           12   connection with live musical performances, signs, displays, advertisements,
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                                           13   promotional materials, website content, videos, and other materials for the
                                           14   provision of musical services for their own financial gain and without
                                           15   authorization.
                                           16           74.   Defendants had actual and direct knowledge of Plaintiffs’ prior use
                                           17   and/or ownership of the La Original Banda Maguey Mark and their conduct is
                                           18   therefore willful and reflects Defendants’ and Impostor Non-Parties’ intent to
                                           19   exploit the goodwill and strong brand recognition associated with the La Original
                                           20   Banda Maguey Mark.
                                           21           75.   Defendants intentionally induced the Impostor Non-Parties to engage
                                           22   in counterfeiting, including by advertising on their behalf using the Banda Maguey
                                           23   Marks and negotiating and securing contracts with venues for their performance.
                                           24           76.   Further, Defendants had reason to know that the Impostor Non-
                                           25   Parties would use Defendants’ goods and services to infringe and had control over
                                           26   securing venues that the Impostor Non-Parties used to infringe.
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                                           1            77.      Defendants’ and Impostor Non-Parties acts constitute direct and
                                           2    derivative trademark counterfeiting, including inducement and contributory
                                           3    infringement, in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.
                                           4            78.      Defendants’ and Impostor Non-Parties’ direct and derivative
                                           5    trademark counterfeiting has caused and, unless restrained and enjoined by this
                                           6    Court, will continue to cause substantial, immediate and irreparable injury to
                                           7    Plaintiffs for which they are without an adequate remedy at law.
                                           8            79.      Defendants’ and Impostor Non-Parties counterfeit use of La Original
                                           9    Banda Maguey Mark is knowing and willful, entitling Plaintiffs to statutory
                                           10   damages of up $2,000,000 and attorneys’ fees and costs under 15 U.S.C. § 1117.
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                                           11                                   SECOND CLAIM FOR RELIEF
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                                           12                   Direct and Derivative Federal Trademark Infringement of a
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                                           13                Registered Mark in Violation of Lanham Act § 32, 15 U.S.C. § 1114
                                           14           80.      Plaintiffs reallege and incorporate by reference each of the foregoing
                                           15   paragraphs of this Complaint as though fully set forth in full herein.
                                           16           81.      At all relevant times, Defendants have used unauthorized
                                           17   reproductions and/or imitations of the La Original Banda Maguey Mark for which
                                           18   Plaintiff Ramirez Ceballos holds the ʼ963 Registration in a manner likely to cause
                                           19   confusion and/or mistake and/or to deceive.
                                           20           82.      Defendants have reproduced, copied and/or imitated the La Original
                                           21   Banda Maguey Mark and have used such reproductions, copies and/or colorable
                                           22   imitations in connection with live musical performances, signs, displays,
                                           23   advertisements, promotional materials, website content, and other materials used
                                           24   in commerce in connection with the advertising and provision of musical services
                                           25   in a manner likely to cause confusion and/or mistake and/or to deceive.
                                           26           83.      Defendants are acting and have acted with knowledge that their
                                           27   copying and use of the La Original Banda Maguey Mark is unauthorized and
                                           28   unlawful and with the intent to cause confusion and/or mistake and/or to deceive.
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                                           1            84.     Defendants intentionally induced the Impostor Non-Parties to engage
                                           2    in infringement, including by advertising on their behalf using the Banda Maguey
                                           3    Marks and negotiating and securing contracts with venues for their performance.
                                           4            85.     Further, Defendants had reason to know that the Impostor Non-
                                           5    Parties would use Defendants’ goods and services to infringe and had control over
                                           6    securing venues that the Impostor Non-Parties used to infringe.
                                           7            86.     Defendants’ acts constitute direct and derivative trademark
                                           8    counterfeiting, including inducement and contributory infringement, in violation
                                           9    of Section 32 of the Lanham Act, 15 U.S.C. § 1114.
                                           10           87.     Defendants’ and Impostor Non-Parties’ trademark infringement has
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                                           11   caused and, unless restrained and enjoined by this Court, will continue to cause
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                                           12   substantial, immediate and irreparable injury to Plaintiffs’ business, reputation
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                                           13   and goodwill for which they are without an adequate remedy at law.
                                           14           88.     As a direct and proximate result of Defendants’ intentional and willful
                                           15   violation of 15 U.S.C. § 1114, Plaintiffs have suffered and continue to suffer injury,
                                           16   loss and damages in an amount according to proof at trial, and are entitled to
                                           17   recover damages, extraordinary damages, attorneys’ fees and costs pursuant to 15
                                           18   U.S.C. § 1117, and to disgorgement of Defendants’ unlawful gains and profits.
                                           19                                   THIRD CLAIM FOR RELIEF
                                           20         Direct and Derivative Federal Unfair Competition and False Designation
                                           21                of Origin in Violation of Lanham Act § 43(a), 15 U.S.C. § 1125(a)
                                           22           89.     Plaintiffs reallege and incorporate by reference each of the foregoing
                                           23   paragraphs of this Complaint as though fully set forth in full herein.
                                           24           90.     Defendants have engaged in the unauthorized use of the Banda
                                           25   Maguey Marks through their advertising and musical performances, and through
                                           26   their use of the names Banda Maguey Corporation and Banda Maguey USA, Inc.
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                                           1            91.   Defendants’ and Impostor Non-Parties’ unlawful use of the Banda
                                           2    Maguey Marks constitute false and misleading designations of origin and false and
                                           3    misleading representations of facts, which:
                                           4                  A.    Are likely to cause confusion, or to cause mistake, or to deceive
                                           5                        as to the affiliation, connection, or association of Defendants
                                           6                        with Banda Maguey, or as to the origin, sponsorship, or
                                           7                        approval of Defendants’ goods or commercial activities by
                                           8                        Banda Maguey; and/or
                                           9                  B.    Misrepresent the nature, characteristics, or qualities of
                                           10                       Defendants’ goods, services, or commercial activities.
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                                           11           92.   Defendants intentionally induced the Impostor Non-Parties to engage
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                                           12   in false designation of origin, including by advertising on their behalf using the
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                                           13   Banda Maguey Marks and negotiating and securing contracts with venues for their
                                           14   performance.
                                           15           93.   Further, Defendants had reason to know that the Impostor Non-
                                           16   Parties would use Defendants’ goods and services to infringe and had control over
                                           17   securing venues that the Impostor Non-Parties used to infringe.
                                           18           94.   Defendants’ acts constitute direct and derivative false designation of
                                           19   origin, including inducement and contributory infringement, in violation of Section
                                           20   32 of the Lanham Act, 15 U.S.C. § 1114.
                                           21           95.   Defendants’ misconduct in violation of 15 U.S.C. § 1125(a) has caused
                                           22   and, unless restrained and enjoined by this Court, will continue to cause
                                           23   substantial, immediate and irreparable injury to Plaintiffs’ business, reputation,
                                           24   and goodwill for which they are without an adequate remedy at law.
                                           25           96.   As a direct and proximate result of Defendants’ intentional and willful
                                           26   violation of 15 U.S.C. § 1125(a), Plaintiffs have suffered and continue to suffer
                                           27   injury, loss and damages in an amount according to proof at trial, and are entitled
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                                           1    to recover damages, extraordinary damages, attorneys’ fees and costs pursuant to
                                           2    15 U.S.C. § 1117, and to disgorgement of Defendants’ unlawful gains and profits.
                                           3                                 FOURTH CLAIM FOR RELIEF
                                           4                            Intentional Interference with Contract
                                           5            97.   Plaintiffs reallege and incorporate by reference each of the foregoing
                                           6    paragraphs of this Complaint as though fully set forth in full herein.
                                           7            98.   Plaintiffs Cabrera and La Morena have contractual relationships with
                                           8    numerous venues for the performance of events by Banda Maguey. Plaintiffs
                                           9    Banda Maguey Founding Members are third party beneficiaries of those contracts.
                                           10   Plaintiffs Cabrera and La Morena also have contractual relationships with Banda
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                                           11   Maguey for the booking of musical events.
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                                           12           99.   Defendants Palomino and FM had knowledge of the existence of
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                                           13   those contracts.
                                           14           100. Despite this knowledge, Defendants Palomino and FM engaged in the
                                           15   unlawful conduct described above to interfere with each of those contracts and
                                           16   did so knowing that interference and disruption of those contracts were certain or
                                           17   substantially certain to occur.
                                           18           101. Defendants Palomino and FM’s misconduct has resulted in
                                           19   interference with the referenced contracts, including contracts with venues and
                                           20   the contracts between Banda Maguey and Plaintiffs Cabrera and La Morena.
                                           21           102. As a direct, proximate and foreseeable result of this interference,
                                           22   Plaintiffs have been damaged in an amount subject to proof at trial.
                                           23           103. Defendants’ actions are, were and remain a substantial factor in
                                           24   causing Plaintiffs harm, injuries and damages.
                                           25           104. Plaintiffs are entitled to damages according to proof at trial.
                                           26           105. Defendants’ intentional interference is willful, malicious, oppressive
                                           27   and fraudulent, entitling Plaintiffs to punitive damages.
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                                           1                                    FIFTH CLAIM FOR RELIEF
                                           2                 Intentional Interference with Prospective Economic Relations
                                           3            106. Plaintiffs reallege and incorporate by reference each of the foregoing
                                           4    paragraphs of this Complaint as though fully set forth in full herein.
                                           5            107. Over the course of many years, Plaintiffs have developed long-
                                           6    standing relationships with their extensive fan base and Ticketón, including an
                                           7    expectation of future economic benefits.
                                           8            108. Defendants had knowledge of the existence of these relationships.
                                           9            109. Despite this knowledge, Defendants engaged in the misconduct
                                           10   described above knowing disruptions of Plaintiffs’ relationships were certain or
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                                           11   substantially certain to occur.
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                                           12           110. Plaintiffs’ relationships with their fan base and Ticketón have been
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                                           13   disrupted by Defendants’ actions.
                                           14           111. As a direct, proximate and foreseeable result of Defendants’
                                           15   interference with Plaintiffs’ prospective economic advantage, Plaintiffs have been
                                           16   damaged in an amount subject to proof at trial.
                                           17           112. Defendants’ actions are, were and remain a substantial factor in
                                           18   causing Plaintiffs harm, injuries and damages.
                                           19           113. Plaintiffs are entitled to damages according to proof at trial.
                                           20           114. Defendants’ intentional interference is willful, malicious, oppressive
                                           21   and fraudulent, entitling Plaintiffs to punitive damages.
                                           22                                   SIXTH CLAIM FOR RELIEF
                                           23                         Intentional Infliction of Emotional Distress
                                           24           115. Plaintiffs reallege and incorporate by reference each of the foregoing
                                           25   paragraphs of this Complaint as though fully set forth in full herein.
                                           26           116. Defendant Palomino has repeatedly threatened physical violence
                                           27   against Plaintiffs and has threatened to block their ability to obtain visas to
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                                           1    perform in the United States, including a threat to have Plaintiff members of
                                           2    Banda Maguey deported.
                                           3            117. Defendant Palomino engaged in extreme and outrageous conduct
                                           4    with the intention of causing, or with reckless disregard of the probability of
                                           5    causing Plaintiffs Cabrera and Plaintiff members of Banda Maguey emotional
                                           6    distress.
                                           7            118. Defendant Palomino’s misconduct was a substantial factor in causing
                                           8    Plaintiffs Cabrera and Plaintiff members of Banda Maguey serious emotional
                                           9    distress.
                                           10                                SEVENTH CLAIM FOR RELIEF
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                                           11                             Unfair Competition in Violation of
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                                           12                   California Business & Professions Code § 17200, et seq.
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                                           13           119. Plaintiffs reallege and incorporate by reference each of the foregoing
                                           14   paragraphs of this Complaint as though fully set forth in full herein.
                                           15           120. Defendants’ misconduct constitutes unlawful, unfair and fraudulent
                                           16   business acts or practices and unfair, deceptive, untrue or misleading advertising,
                                           17   in violation of California Business & Professions Code §17200, et seq.
                                           18           121. As a direct and proximate result of Defendants’ unfair, unlawful and
                                           19   illegal business practices, Plaintiffs have suffered irreparable harm to their
                                           20   reputation and goodwill. As such, Plaintiffs are entitled to injunctive relief as set
                                           21   forth herein.
                                           22                                 EIGHTH CLAIM FOR RELIEF
                                           23                             Common Law Unfair Competition
                                           24           122. Plaintiffs reallege and incorporate by reference each of the foregoing
                                           25   paragraphs of this Complaint as though fully set forth in full herein.
                                           26           123. Defendants’ misconduct constitutes infringement and counterfeiting,
                                           27   and misappropriation of Plaintiffs’ intellectual property, unjust enrichment, as well
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                                           1    as unfair competition under the common law of the State of California and other
                                           2    states of the United States.
                                           3            124. Defendants’ willful conduct outlined herein has unjustly enriched
                                           4    Defendants in violation of Plaintiffs’ rights. As such, Plaintiffs are entitled to
                                           5    injunctive relief and monetary damages according to proof at trial.
                                           6                                   NINTH CLAIM FOR RELIEF
                                           7                          Misappropriation of Image and Likeness
                                           8                           Pursuant to California Civil Code § 3344
                                           9            125. Plaintiffs reallege and incorporate by reference each of the foregoing
                                           10   paragraphs of this Complaint as though fully set forth in full herein.
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                                           11           126. Defendants have knowingly misappropriated the image and likeness
             A TTORNEYS A T L AW




                                           12   of Plaintiffs Banda Maguey Founding Members. Inter alia, Defendants have taken,
                           L OS A NGELES




                                           13   directly and/or through their agents, recent concert videos, photographs, images
                                           14   and advertisements of Plaintiffs Banda Maguey Founding Members and used them
                                           15   without authorization to falsely promote their own concerts.
                                           16           127. Defendants’ misappropriation was in direct connection with a
                                           17   commercial and advertising purpose. Defendants gained a commercial benefit by
                                           18   violating Plaintiffs Banda Maguey Founding Members’ right of publicity.
                                           19           128. Defendants have never had any authorization or permission to use,
                                           20   publish, display or commercially exploit Plaintiffs Banda Maguey Founding
                                           21   Members’ image or likeness or right of publicity.
                                           22           129. Defendants have realized unjust profits, gains and advantages, and
                                           23   they will continue to realize unjust profits, gains and advantages, as a proximate
                                           24   result of their misconduct.
                                           25           130. Plaintiffs Banda Maguey Founding Members have suffered and
                                           26   continue to suffer injury, loss and damages in an amount according to proof at
                                           27   trial, including damages and disgorgement of Defendants’ unlawful gains and
                                           28
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                                           1    profits. Defendants’ misconduct was a substantial factor in causing Banda Maguey
                                           2    Founding Members harm.
                                           3            131. Banda Maguey Founding Members are also entitled to recover
                                           4    exemplary damages and attorneys’ fees.
                                           5                                  TENTH CLAIM FOR RELIEF
                                           6                   Common Law Misappropriation of Image and Likeness
                                           7            132. Plaintiffs reallege and incorporate by reference each of the foregoing
                                           8    paragraphs of this Complaint as though fully set forth in full herein.
                                           9            133. Defendants have knowingly misappropriated the image and likeness
                                           10   of Plaintiffs Banda Maguey Founding Members. Inter alia, Defendants have taken,
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                                           11   directly and/or through their agents, recent concert videos, photographs, images
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                                           12   and advertisements of Plaintiffs Banda Maguey Founding Members and used them
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                                           13   without authorization to falsely promote their own concerts.
                                           14           134. Defendants’ misappropriation was in direct connection with a
                                           15   commercial and advertising purpose. Defendants gained a commercial benefit by
                                           16   violating Plaintiffs Banda Maguey Founding Members’ right of publicity.
                                           17           135. Defendants have never had any authorization or permission to use,
                                           18   publish, display or commercially exploit Plaintiffs Banda Maguey Founding
                                           19   Members’ image or likeness or right of publicity.
                                           20           136. Defendants have realized unjust profits, gains and advantages, and
                                           21   they will continue to realize unjust profits, gains and advantages, as a proximate
                                           22   result of their misconduct.
                                           23           137. Plaintiffs Banda Maguey Founding Members have suffered and
                                           24   continue to suffer injury, loss and damages in an amount according to proof at
                                           25   trial, including damages and disgorgement of Defendants’ unlawful gains and
                                           26   profits. Defendants’ misconduct was a substantial factor in causing Banda Maguey
                                           27   Founding Members harm. Banda Maguey Founding Members are also entitled to
                                           28   recover exemplary damages.
                                                                                        - 35 -                            COMPLAINT

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                                           1                                      PRAYER FOR RELIEF
                                           2            WHEREFORE, Plaintiffs pray for judgment in their favor and against
                                           3    Defendants, including but not limited to, the following relief:
                                           4            1.     That the Court order a preliminary and permanent injunction
                                           5    enjoining Defendants, their members, officers, principals, shareholders, agents,
                                           6    servants, employees, attorneys, successors and assigns, distributors, retailers and
                                           7    those in privity with them, including but not limited to the Impostor Non-Parties,
                                           8    and any other persons in active concert or participation with any of them who
                                           9    receive actual notice of the judgment by personal service or otherwise, from any
                                           10   further infringement or counterfeiting of the Banda Maguey Marks and from any
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                                           11   further acts of interference, intentional infliction of emotional distress, and unfair
             A TTORNEYS A T L AW




                                           12   competition;
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                                           13           2.     That the Court find that Defendants’ misuse of the Banda Maguey
                                           14   Marks and the Banda Maguey Design was, at all relevant times, willful and
                                           15   intentional;
                                           16           3.     That the Court award damages sustained by Plaintiffs in an amount
                                           17   according to proof at trial;
                                           18           4.     That the Court order an accounting to Plaintiffs for Defendants’
                                           19   profits derived from their unlawful acts, and for disgorgement of those profits;
                                           20           5.     That the Court enter judgment for three times Defendants’ profits
                                           21   and Plaintiffs’ damages and such additional sums as the Court shall find to be just,
                                           22   along with reasonable attorneys’ fees and prejudgment interest;
                                           23           6.     That the Court award statutory damages for counterfeiting in the
                                           24   amount of $2,000,000;
                                           25           7.     That the Court require that Defendants, within thirty (30) days after
                                           26   service of the judgment demanded here, to file with this Court and serve upon
                                           27   undersigned counsel a written report under oath setting forth in detail the manner
                                           28   in which it has complied with the judgment;
                                                                                         - 36 -                             COMPLAINT

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                                           1            8.    That the Court order an accounting of and impose a constructive trust
                                           2    on all of Defendants’ funds and assets that arise out of its unlawful conduct;
                                           3            9.    That the Court retain jurisdiction of this action for the purpose of
                                           4    enabling Plaintiffs to apply to the Court at any time for such further orders and
                                           5    interpretation or execution of any order entered in this action, for the
                                           6    modification of any such order, for the enforcement and compliance therewith,
                                           7    and for the punishment of any violations thereof; and
                                           8            10.   For such further relief as the Court deems just and proper.
                                           9
                                                Dated: January 16, 2025               ROBINS KAPLAN LLP
                                           10
R OBINS K APLAN LLP




                                           11                                         By: /s/ David Martinez
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                                                                                             David Martinez
                                           12                                                Daniel D. Allender
                           L OS A NGELES




                                           13                                                Luis D. Gomez
                                                                                      Attorneys for Plaintiffs
                                           14                                         Guillermo Cabrera; La Morena Music
                                                                                      Entertainment, LLC; Jorge Ernesto Ramirez
                                           15                                         Ceballos; Fernando Guardado Rosales;
                                                                                      Jose Rosario Cisneros Gutierrez; and
                                           16                                         Luis Antonio Plasencia Martinez
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                                           1                                  DEMAND FOR JURY TRIAL
                                           2            Plaintiffs hereby demand a trial by jury.
                                           3
                                                Dated: January 16, 2025                ROBINS KAPLAN LLP
                                           4
                                           5                                           By: /s/ David Martinez
                                                                                              David Martinez
                                           6                                                  Daniel L. Allender
                                           7                                                  Luis D. Gomez
                                                                                       Attorneys for Plaintiffs
                                           8                                           Guillermo Cabrera; La Morena Music
                                                                                       Entertainment, LLC; Jorge Ernesto Ramirez
                                           9                                           Ceballos; Fernando Guardado Rosales;
                                                                                       Jose Rosario Cisneros Gutierrez; and
                                           10                                          Luis Antonio Plasencia Martinez
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                     EXHIBIT A
          Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 40 of 61 Page ID #:40




 Event Date:
 April 16, 2023
 Venue: PAL
 Stadium
 San Jose, CA




Event Date:
April 30, 2023
Venue: Santa
Maria Fairpark
Santa Maria, CA




                                                                       Exhibit A, Page 39
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Event Date:
May 12, 2023
Venue: Enigma
Nightclub
Raleigh, NC




                                                                     Exhibit A, Page 40
      Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 42 of 61 Page ID #:42




Event Date:
May 21, 2023
Venue: Blue
Moon Event
Center
Memphis, TN




                                                                   Exhibit A, Page 41
     Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 43 of 61 Page ID #:43




Event Date:
July 7, 2023
Venue: Las
Maria’s Bar
and Grill
Seaside, CA




                                                                  Exhibit A, Page 42
       Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 44 of 61 Page ID #:44




Event Date:
July 23, 2023
Venue:
The Great
Frederick Fair
Frederick, MD




                                                                    Exhibit A, Page 43
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Event Date:
August 12, 2023
Venue:
Pan American
Ballroom
Porterville, CA




                                                                      Exhibit A, Page 44
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 Event Date:
 October 27, 2023
 Venue: Broadacres
 Marketplace
 Las Vegas, NV




Event Date:
March 2, 2024
Venue: Club
Nuestra Raza
Houston, TX




                                                                         Exhibit A, Page 45
     Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 47 of 61 Page ID #:47




Event Date:
March 8, 2024
Venue: The Rave
/ Eagles Club
Milwaukee, WI




                                                                  Exhibit A, Page 46
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Event Date:
March 17, 2024
Venue: Pico
Rivera Sports
Arena
Pico Rivera, CA




                                                                       Exhibit A, Page 47
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Event Date:
March 17, 2024
Venue: Pico
Rivera Sports
Arena
Pico Rivera, CA




 Event Date: April 6, 2024
 Venue: Lake Chateau Banquets
 Woodbridge Township, NJ




                                                                        Exhibit A, Page 48
    Case 5:25-cv-00109    Document 1   Filed 01/16/25   Page 50 of 61 Page ID #:50




Event Date:
May 4-5, 2024
Venue: Victorian Square
Sparks, NV




                                                                  Exhibit A, Page 49
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                                                             Exhibit A, Page 50
         Case 5:25-cv-00109          Document 1   Filed 01/16/25   Page 52 of 61 Page ID #:52




                Event Date:
                July 14, 2024
                Venue: Terrenos de
                la Feria Merced
                Merced, CA




Event Date:
July 14, 2024
Venue: Terrenos de
la Feria Merced
Merced, CA




                                                                             Exhibit A, Page 51
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                     EXHIBIT B
             Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 54 of 61 Page ID #:54




Jan 8, 2025 5:26:17 PM                                                    Exhibit B, Page 52
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Jan 8, 2025 5:29:56 PM                                                    Exhibit B, Page 53
             Case 5:25-cv-00109   Document 1   Filed 01/16/25   Page 56 of 61 Page ID #:56




Jan 8, 2025 5:29:56 PM                                                    Exhibit B, Page 54
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Jan 10, 2025 9:26:43 AM                                                   Exhibit B, Page 55
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Jan 10, 2025 9:26:43 AM                                                   Exhibit B, Page 56
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                                                             Exhibit B, Page 57
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                                                             Exhibit B, Page 58
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                                                             Exhibit B, Page 59
